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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

KAREN COCHENOUR, individually and on            )
behalf of others similarly situated,            )
                                                )
       Plaintiff,                               )
                                                )   Civil Action No. 1:25-CV-00007-DII
v.                                              )
                                                )
360TRAINING.COM, INC., D/B/A                    )
MORTGAGE EDUCATORS AND                          )
COMPLIANCE, INC.,                               )
                                                )
       Defendant.                               )

                                    [PROPOSED] ORDER

       Pursuant to Federal Rule of Civil Procedure 6(b) and Local Civil Rule CV-7 of the U.S.

District Court for the Western District of Texas, and having considered the Unopposed Motion for

Extension of Time to Answer or Otherwise Respond to Complaint (“Motion”) filed by Defendant

360training.com, Inc. d/b/a Mortgage Educators and Compliance, Inc., the Court ORDERS the

Motion be GRANTED.

       The deadline for Defendant 360training.com, Inc. to answer or otherwise respond to

Plaintiff’s Class Action Complaint is extended from January 27, 2025 up to and including February

26, 2025.

       SO ORDERED.



       SIGNED: This ______ day of January, 2025.


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